% A 0 2458    (Rev. 12103) Judgment in aCriminal Case
   NCED        Shect 1




                         Eastern                                     District of                               North Carolina
          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                              v.
          ALONZO WASHINGTON, JR.                                              Case Number: 5:07-CR-39-2F
                                                                              U S M Number:23141-056

                                                                              J a m e s E. Todd
                                                                              Dcfcndanl's Attorncy
THE DEFENDANT:
6pleaded guilty to count(s)         2 (Indictment)

   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                 Nature of Offense                                                       OlTense Ended          Gaunt
18 U.S.C. 5 922(g)                               Felon in Possession of Ammunition                                         11/24/2006          2




       The defendant is sentenced as provided in pages 2 through                    6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                    is         are dismissed on the motion of the United States.

             It .s ordrrzJ thdt the defendant must n o t ~ t the
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                                                                                            imposed by this udgmtnt Jrr tu I? paid
the defendant rnUht nutll) the e11un and United Stales atlurne) of rnaterlal -hanges in e c l ~ n l ~ mclr;urnhlanies.
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                                                                                                                                            ge        rc\~dence.
                                                                                                                                              10 p3y rotltutlon.


  sentencing Location:                                                        3/25/2008
   Wilrnington, NC                                                            Date of lmposilion of Judgment




                                                               .-               JAMES C. FOX. SENIOR U.S. DISTRICT JUDGE
                                                                              Name and Title of Judge




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A 0 2458       (Rev. 12/03) Judgment m Cnminal Case
     NCEO      Sheet 2 - Imprisonment

                                                                                                        Judgment- Page      2of   6
DEFENDANT: ALONZO WASHINGTON, JR
C A S E N U M B E R : 5:07-CR-39-2F


                                                                IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of.

 105 MONTHS TO RUN CONSECUTIVELY WITH ANY OTHER TERM


     d The couri makes the following recommendations to the Bureau of Prisons:
 That the defendant participate in the most Intensive Drug Treatment Program available during the term of
 incarcaration.
 That it is directed that the defendant be incarcarated at FCI Atlanta.

     d The defendant is remanded to the custody of the Unitcd States Marshal.
            The defcndant shall surrender to the United States Marshal for this district:

                 at                                      a.m.         p.m.     on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution dcsignated by the Bureau of Prisons:

                 before      p.m. on
                  as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office


                                                                     RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                          to

 a                                                     , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL




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           Sheet 3 - Supervircd Rclcase
                                                                                                        Judgment-Page 3af                  6
DEFENDANT:          ALONZO WASHINGTON, J R .
 C A S E NUMBER: 5:07-CR-39-2F
                                                     SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
  3 YEARS
      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall nor commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter. as determined by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
      substance abuse.
@     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applieable.)
      If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in aceordance with the
 Schedule o / ~ a ~ m e nsheet
                          t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
 1.   The defendant shall not leave the judicial district or other specified geographic area without the permission of the court or probation
      officer.
 2.   The defendant shall report to the probation offieer as directed by the court or probation officer and shall submit a truthful and
      complete written report within the first five (5) days of each month.
 3.   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
 4.    The defendant shall support the defendant's dependents and meet other family responsibilities.
 5.    The defendant shall work regularly at a lawful oceupation unless excused by the probation officer for schooling, training, or other
       aceeptable reasons.
 6.    The defendant shall notify the probation officer at least then (10) days prior to any change of residence or employment.
 7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or administer any controlled
       substance, or any paraphernal~arelated to any controlled substance, except as prescnbed by a physician.
 8.    The defendant shall not frequent places where controlled substanees are illegally sold, used distributed, or administered, or other
       places specified by the court.
 9.    The defendant shall not associate with any persons en aged in criminal activity, and shall not associate with any person eonvicted of
       a felony unless granted permission to do so by the profation officer.
 10. The defendant shall permit a robation officer to visit the defendant at any time at home or elsewhere and shall permit confiscation of
     any contraband observed in pyain view by the probation offieer.
 11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     offieer.
  12. The defendant shall not enter into any agreement to act as an ~nformeror a special agent of a law enforcement agency without the
      permission of the court.

                                                                    'r
 13. As directed by the probation officer, the defendant shall noti thlrd parties of risks that may be occasioned b the defendant's
     criminal record or personal history or characteristics, and sha I permlt the probation officer to make such noti%cations and to confirm
     the defendant's compliance with such notification requirement.




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A 0 2458   (Rev. I2i03)Judgment in aC"rina1 Casc
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                                                                                            Judgmentpage   4 of              6
DEFENDANT: ALONZO WASHINGTON, JR.
CASE NUMBER: 5x07-CR-39-2F

                                   ADDITIONAL SUPERVISED RELEASE TERMS
 The defendant shall provide the probation oftice with access to any requested financial information.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

  The defendant shall participate as directed in a program approved by the probation oftice for the treatment of narcotic
  addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
  and may require residence or participation in a residential treatment facility.

  The defendant shall consent to a warrantless search by a United States probation ofticer or, at the request of the probation
  officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to determine
  compliance with the conditions of this judgment.

  The defendant shall participate in a vocational training program as directed by the probation ofice,

  The defendant shall cooperate in the collection of DNAas directed by the probation officer




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A 0 2458   (Rev. 12103)Judgment in a Criminal Case
  NCEO     Sheet 5 Criminal Monetary Penalties
                                                                                                    JudgmenrPage    5 of                 6
 D E F E N D A N T : ALONZO WASHINGTON, JR.
 CASE NUMBER: 507-CR-39-2F
                                               CRIMINAL MONETARY PENALTIES
     Thc defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                       Assessment                                                                           Restitution
 TOTALS            5 100.00                                                                             $



      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
      after such determination.

     The dcfendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment column%elow. However, pursuant to 18
      before the United Statcs is p a ~ d .
                                                                                            ds.8.
                                                                                               9 3664&, all nonfederal victims must be paid

 Name o f Pavee                                                        TotalLoss'           Restitution Ordered      Priority or Percentace




                                  TOTALS


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2.500. unless the restitution or fine is paid in full before the
       fifteenth day aftcr the date of the judgment, pursuant to 18 U.S.C. $3612(t). All of the payment options on Sheet 6 may be subjret
       to penalties for delinquency and default, pursuant to 18 U.S.C. 8 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest rcquirement is waived for the          fine       restitution.
            the interest requirement for the          fine        restitution is modified as follows:



  Findings forthe total amount of losses are re uiredunder Chapters 109A, 110, 1 lOA, and 113A of Title I8 for offenses committed on oraRer
 September 13, 1994, but before Apnl23, 199%.




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A 0 2458    (Rev. 12103)Judgment in a Criminal Casc
     NCED   Sheet 6 Schedule ofPaymcnts
                                                                                                                 Judgment- Page 1of                     fi
 D E F E N D A N T : ALONZO WASHINGTON. JR
 C A S E N U M B E R : 5:07-CR-39-2F


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A      q   Lump sum payment of $                                due immediately, balance due

                  not later than                                      , or
                  in aecordance                C,         D,            E, or    q F below; or
 B      q   Payment to begin immediately (may be combined with                  OC,            D, or     q F below): 01
 C      q   Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commenee                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g.. 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E      q   Payment during the term of supervised release will eommence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F      @f Special instructions regarding the payment of criminal monetary penalties:
             The special assessment imposed shall be due in full immediately,




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 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



        Joint and Several

        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




        The defendant shall pay the eost of prosecution.

        The defendant shall pay the following court cost(s):

        The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be appl~edin the following order: (1 assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
 (5) fine interest, (6) colnmunity restitution, (7) penal)ties, and (8) costs, including cost of proseeution and court eosts.




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